Case 1:21-cv-10417-RWZ Document 26-1 Filed 02/04/22 Page 1 of 4




                      Exhibit A
                                    Case 1:21-cv-10417-RWZ Document 26-1 Filed 02/04/22 Page 2 of 4
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             1.
             I




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                                                            NEW YORK
       Case 1:21-cv-10417-RWZ Document 26-1 Filed 02/04/22 Page 3 of 4



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          beurre nolr                                                                                         201                                                                                    bhlkshunl '
     Fru1ch Coolu7.           butterpute.       < F: lit., be-WNP (bi wep/), o.t., -w•pt. -•-P••ns. Archoic. to
                                                (1936--40;                                                                                            Bez•wa•da            (bez    wiilde),    n.     former .: name ·     or-
     kneaded butter)                                        weep over (aomething): to be""'ep one's fooliah miatahea.                                  VU•Y•w•d•.
   beurre nolr (bflr' nwiir'; Fr. lxzR nWAR'), French       [bef. 1000; ME bewepen, OE be~pon. See H-, WHP')   bez,zant (bezfent, bi zanV), n. bezant (def. 1).
    Coolury. a oauce of darkly browned butter, aometimes be-whllk•erecl (bi hwialkerd, -wial-), adj. 1. having bf., Law. brief.
    flavored with herbe, vinegar, etc. [1866-60; < F: lit., whiakeni· bearded. 2. ancient, u a witticim1, expres-
    black butterJ                                                                                              B/F, Accounting. brought forward.
                                                            aion, etc.; paaa6; hoary: a bewhialured catchword of a by-
   beuiTe nol•Ntte (bllr' nwii zeV; Fr. lxzR nwA zeV), gone ero. [1766-66; BS- + WHISKERED)                    B.F., 1. Bachelor of Finance. 2. Bachelor of Forestry.
    French Coolury. a eauce of butter cooked until golden Bew•lck (byOl!'ik), n. Thom••• 1753-1828, Engliah    b.f.. Printing. boldface. Also, bf
   or nut brown, aometimee flavored with capers, vinegar, wood engraver.                                       B.F.A., Bachelor of Fine Arta.
   herbe, etc. L< F: lit., butter the color of a hazelnut] Bewflck's swan', a tundra awan aubapecies, Cygnus B.F.A.Mus., Bachelor of Fine Arta in Muoic.
   Beu-then (boiVn), n. German name of B)'tom.             columbianua Mwickii, of Eurasia, having white plum-
   BeV (bev), Phyoica. billion electron-volta. Alao, B•v, age, black legs, and a yellow patch on a black bill. B.F.S., Bachelor of Foreign Service.
    bev                                                                      [1820-30; after T. Bsw1c11)                                              B"•      biofeedback Lraining.
   Bev•an (bevlen), n. 1. A•neu•rln (e n i'ren), 1897-1960, be-wlaecl (bi wigd'l, adj. wearing a wig. [176&-75; B.F.T., Bachelor of Foreign Trade.
      Britiah political leader: minister of health 1946--60. 2. a Bit- + WIG + -ED )
                                                                           1
                                                                                                                                                 be., 1. background. 2. bag.
     male given ~ e.                                                   be•wll-der- (bi wil'der), o.L to confuse or puzzle com-
    bev•a•tron (bev'e tron'), " · Physia. an accelerator in pletely; perplex: These shi~ing attitude• bewilder me. B.G.,                           BG
                                                                                                                                                           1. Birmingham gauge. 2. brigadier general. Alao,
     which protona are rai8ed to energies of eeveral billion [1676-66; BE- + WlLDi:R (v.))
     electron-volta by modulating the frequency of the ac-               -Syn.       myetify,  nonplua,  confu.8e, daze,    confound,  • tag-    a.Gen.Ed.,       Bachelor of General Education.
     celerating voltage. [1946--60; BsV + -a- connective + ger, muddle.                                                                          bGH, B ioch,m., Agric. See bov•ne ·srowth hormon•.
     -TRON)                                                            be-wll•derecl (bi wil'derd), a~. completely puzzled or B-slrl (biVg(u-1'), n. a woman employed by a bar,
    bev•el (bevlel), n., o., ...eel, ..I-Ins or (eap. BriL) confuaed; perplexed. [167&-86; BSWILDER + - ED') -be• nightclub, etc., to act as a companion to male CUBtomen
     .. 11ec1, ..._.nns. adj. -n. 1. the inclination that one line wll'd•recl-ly, ado. -be•wll'd•red•nHa, n .                                     and induce them to buy drinka. [1936-40, Amer.; prob.
     or aurface makee with another when not at right anglea. be-wll•der•lns (bi wil'der ing), adj. extremely con- B(AR)' + GIRL)
     2. a aurface that does not form a right angle with a<lja- fuaing: o bewildering schedule of eoents. [l 78&-95; BE-
     cent aurfacea. Cf. chamfer. 3. (of a lock bolt) the ob- WILDER + -ING') -be-wll'd•r•lns•IY, ado.                                            Bclr.,    bugler.
     lique end that hita the •trike plate. 4. (of a lock with a
                                                                      be-wll•der,ment            (bi wil'dar  mant),   rt.   1.  bewildered      BHA, Chem. , Phorm. butylated hydroxyanisole: the
     beveled bolt) the aide facing in the aame direction u the                                                                                    synthetic antioxidant C11HuO1, used to retard rancidity
    bevel at the end of the bolt. Cf. resu••• bev••• revers• state. 2. a confusing maze or tangle, _a s of objecta . or in foods, pharmaceuticals, and other producta containing
    bev•L II. See beve• square. II. an a<ljuatable instru- conditions: a bewilderment of smoke, notse, and pushing fat or oil. [1946--60)
    ment for drawing anJles or a<ljuatina the aurface of work people. [1810-20; BEWILDER + -MENT)
    to a particular inclination. 7. PrinL beard (def. 6) be-witch (bi wich'), o.L 1. to affect by witchcr~ft or Bha•bha                                          (bii'bii), n. Ho-m• J<••h•n•slrl (hO'me
    -o.L , o.i. 8. to ~tor alan~ at a bevel: lo beoel an ed.<le t~ magic; cast a spell over. 2. to enchant; charm; fascinate. ~e~!norffci;i. 1909-1966, Indian physicist and govern-
    preoent aphnlen",!I. --ca<(j. 9. Alao, bev••ed; esp. BriL           [117&-1225; ME biwicchen. See BE·, WITCH) -be-
    ......i1ec1. ?l>lique;_ aloping; alanted. (1666-66; < MF w•tch'••· n. -be•wltch'•r•Y, n. -be-wltch'•n•• Bhad,pon (budlgoun), n. a former name of Bh•k-
    'beoel (F bt!oeau, b1oeou), OF •boioel, equiv. to boi'fwith n•• s. n. -be•wltch'm•nt. n.                                                     tapur.
    open mouth (bo(er) to gape (aee BAY') + -if -ivs) + -el -Syn. 2. captivate, enrapture, transport.
     < L -ellu.a; aee -sLLs) ..:....t,ev'••--r: up. BriL , bev'••• be•wltch•lnc (bi wich'ing), adj. enchanting; charm- Bha•ca•vad-Gl•ta          portion
                                                                                                                                                                            (bug'a vad ge'tii), n. Hinduiam. a
                                                                                                                                                            of the Mahabharata, having the form of a dia-
    .... n.
                                                                        ing; fascinating. [155lH>5; BSWITCH + -ING') -be- logue between the hero Arjuna and his charioteer, the
  bevfel-faced ham'mer (bev'el fa.st'), a riveting w•tch'•n•••Y. ado.                                                                            avatar Krishna, in which a doctrine combining Brah-
    hammer having an oblique face.
                                                                      be•wray (bi rA'), o. t. Archaic. 1. to reveal or expose. manical and other elements is evolved. Also called Gita.
  bevfel cearl, Moch. a gear having teeth cut into a 2 . to betray. [1250-1300; ME bewroien, equiv. to be- BE- [ < Skt: Song of the Bleased One)
    conical BW"face, usually •meshing with a similar gear set + wraien. OE wregan to accuse, c. OHG ruogen (G bha•Jan (bujlan), n. Hinduiam. a religioua song of
    at right anglea. Cf. hypold SHr. [1825-35)                          rugen), Goth wrohjanJ -b••wr•Y'••• n.                                    praise. [1910-15; < Skt]
                                                                      Bex,ley (beks'le), 11. 1. a borough of Greater London, bhak•ta (buk'ta), n. one who practices bhakti. [1820-
                                                                  . England. 216,900. 2. a city in central Ohio. 13,405.                        30; < Skt: devoted; akin to BHAKTI)




            --                                                        bey (ba), 11., pt. ·beys. 1. a provincial governor in the Bhak•ta•pur (buk'ta p<)()r'). n. a city in E central
                                                                       Ottoman Empire. 2. (formerly) a title of respect for Ne pal, near Katmandu. 104,703. Formerly, Bhadsaon.
                                                                   . Tur kish di gnitaries. 3. (formerly) the title of the native Bhatpon.
                                                                       ruler of Tun is or Tunisia. T\lrkish, bes. [1590-1600; <
                                                                       T:1 r k, _hy. form of ear lier beg, Old Turkic beg subordinate bhak•tl (buk'te), n. Hinduiam. 1. selfleas devotion aa
                                                                       chi ef, head of a cla n, perh. < a MChin word akin to Chin a means of reaching Brahman. Cf. Jnana. kann• (def. 1).
                                                                       '>iii h undred (Gua n gdo.ng dia l. baak )]
                                                                     Beyle (bai', n.
                                                                       nam~ of Stendhal.
                                                                                                 Ma••••
                                                                                                                                                2. (cap.) a popular religious movement centered. around
                                                                                                                                                the personal worship of gods, esp. Vishnu and Shiva. Cf.
                                                                                                      Hen•rl (mA Re' iiN Re' ), real S••v•. V•••hn•v•. [1825-,"35; < Skt: devotion)
  bevfel Joint', Carpentry. a m iter joint, esp. one in bey•!!.:: (haliik), 11 . the power or jurisdiction of a bey. bhak•tl-mar•ga (buk'ti miir'gal, n. Hinduism. See
   which two pieces meet at other than a rignt a n.,;le. ,\Js,, , i>eylllk. [1725-35; < Turk beylik, equiv. to bey under marp. [193&-40]
   [181&-26]                                                           llLY -t- -•lik n. suffix of appurtenance]                              bhang (bang), n. 1. a mild preparation of marijuana
  bevfel slcYlne, Carpentry. siding composed of ta- Bey·•og,lu (ba'a lolF; Turk. bii'o loll'), n. a modern made from young leaves and stems of the Indian hemp
   pered piece., aa clapboards, laid with the thicker lowe1· 8"ction of Istanbul, Turkey, N of the Golden Horn: com- plant, Cannabis satiua, drunk with milk or water as a
   edge of any piece overlapping the thinner upper edge of mercial and residential area. Formerly, Pera.                                       fermented brew or smoked for its hallucinogenic effects.
   the piece below it.                                                                                                                         2. a water pipe. Also, bans. [155lH>5; < Hindi bluing
                                                                     be•yond          (be ond', bi yond'), prep. 1. on, at, or to the
  bevfel square', an a<ljustable tool used by wood- farther side of: Beyond those trees you 'Lt find his · house. < Skt bhanga hemp)
   worken1 for laying out angles and for testi.ni the accu- 2 . farther on than; more distant than: beyond the hori- bhan,gl (bung'ge), n .. pL -slL Anglo-Indian. a Hindu
   racy of ourfacea worked to a alope. [160&-15)                      zon; beyond the sea. 3. outside the understanding, li- scavenger who belongs to one of the untouchable castes.
                                                                      mits, or reach of; past: beyond comprehension; beyond Also, bhunsi. [ < Hindi bhang, lit., user of BHANG)



              --                                                      endurance; beyond help. 4. superior to; surpassing; bhar,al (bilrle)), n. a wild sheep, Pseudoia nahoor. of
                                                                      above: wise beyond all others. 5. more than; in excess Tibet and a<ljacent mountainous regions, having goatlike
                                                                      of; Over and above: to stay beyond one's welcome. --adv. horns that curve backward. Also, burrh•I. Also called
                                                                      6. farther on or away: 08 far 08 the house and beyond. blu• •h-p. [1830-40; < Hindi]
                                                                     -n. 7. th• beyond, • · that which is at a great distance. Bha•rat (bulaut), n. Hindi name of the republic of
                                                                      b. Alao, th• ••••t beyond. the afterlife; life after death. Ind••·
                                                                     [bef. 1000; ME beyonden, OE begeondan. See BE- , YGND
                                                                     (adv.)) -be•yondl nHa, n.
 bev,er,ace (bevler ij, bevlrij), n. any potable liq~d, Bey,routh (bl!'rOl!t, bi! rOiiV), n. Beirut.
                                                                                                                                             Bha•ra•ta Nat•ya (bilr'a ta JtiWya), a traditional
                                                                                                                                               south Indian dance style, formerly performed only by
   eap. one other than water, aa tea, coffee, beer, or rmlk:                                                                                   devadasis.
   TM price of the meal include, a beoeroge. [1260-1300; a.. zai,..el (bi zal e al), n. the chief ar.c hitect of the Bhar,trl•ha•rl (bur' tri hur'e), n. A.D. 570?-650?, In-
                                                                                               1
  ME < AF beoerage, beoorag,, equiv. to be(i)vre to drink tabernacle. Ex. 31:1-11. -B••z•l• .. ••••••n (bi zal' e el' - dian grammarian and poet.
   + -age -AGE)                                                      e an, bez' e 1e,1e-), adj.
                                                                                                                                             Bhat•saon (bud'goun), n. a former name of Bhak-
 bevferase room', Canadian. a tavern or bar selling bez;ant (bezfant, bi zanV), n. 1. Also, bezz•nt. the tapur.
  only malt liquon1. [ 1936-40]                                      11old solidus of the Byzantine Empire, widely circulated
                                                                     m the Middle Agea. 2. Alao, byzant. (in Romanesque .                    Bhat,pa,ra         (biiVpiir a), n. a city in SW West Bengal,
 Bev-er•ldce (bev'er ij, bev'rij), n. 1. A•bert J•re- architecture) any of a number of disklike ornaments, in E India, N of Calcutta. 204,750.
  mlah, 1862-1927, U.S. senator and historian. 2. s•r Wll- similar in form to the clauical patera, used esp. on the Bhau,na•car (bou nug'er), n. a seaport in S Gujarat,
  llam H•nry, 1879-1963, Engliah economist.                         faces ofarchivolts. Alao, bH• nt . [1150-1200; ME besont in W India. 226,072. Also, Bhav•na•s•r (biiv nuglar).
 ~eyf erldp plan', the plan for comprehenai ve aocial < OF < L byzantius (nummus) Byzantine (coin)]
  ~ c e. propeeed by Sir William Beveridge in Great bezf ant'ler (bez, bAz). See bay •ntl•r. (1590-1600) Bha•va•bhu•tl                        dian dramatist.
                                                                                                                                                                    (buv' a ~ t e), n. fl . 8th century, In-
  Bntain 1n 1941.
Bev-er•ly (bevler le), n. 1 . a city in NE Maaaachu- bez•el                      (bezlel), n. 1. Alao, baall. the diagonal face at Bha,ve (bii'vii), n. v••no•ba (ve nO'ba), 189&-1982, In-
                                                                    the end of the blade of a chisel, or the like, leading to the
  oetta. 37,665. 2. Alao B•v'er•l•Y· a female or male edge. 2. Jewelry. •· that part of a ring, bracelet, etc., to dian religio11s leader and mystic.
  given name: from an oid Engliah word meaning "dweller which gems are attached. b. crown (def. 27). 3. a BHC, Chem. benzene hexachloride: the white to yel-
  at the beaver meadow."                                                                                                                      lowish       crystalline, water-soluble, poisonous solid
                                                                    j!TOOved ring or rim holding a gem, watch crystal, etc., in
Bevferly Hlllaf, 1: a city in SW California, near Loa ,ta setting. 4. Auto. the part of a vehicle's bodywork C,H,ci,, used chiefly as an insecticide.
  An1elee. 32,367. 2. a town in SE Michigan. 11,598.                that aurrounda a light. [160&-16; ak in to F biseau bevel, bhd., bulkhead.
Bev•ln (bev'in), n. Ern•st. 1881-1951, Briti•h labor chamfer]                                                                               bhees,ty (belste), n., pl. -tl•L (in India) a water car-
 leader: foreign mini• ter 1941-61.                               B6•zlers (bA zyA 1 ), n. a city in S Frahce, SW of Mont- rier. Also, bh-s't••· [1775-85; < Urdu bh,s n < Pera
bev,y (bev,e), n., pl. bev••H. 1 . a group of birda, aa            pellier.     85,677.                                                       bih ishti pertaining to paradise, i.e., beautiful, as poetic
 larlu or quail, or animals, u roebt,ick., in close aSBocia- be-zlque (ba zekl), n. Carda. a game resembling pi- convention describes cup-bearers (equiv. to bihisht para-
 tion. 2. a large group or collection: a bevy of boisterous nochle, otjginally played with 64 carda and now more                             dise    + - i suffix of appurtenance)]
 11ailora. [1400-60; late ME bevey, of obscure orig.]              commonly with 128 carda and, sometimes, 192 or 256 bhlk•shu (bik'sMll), n. Buddhism. 1. a monk.
 -Syn. l. covey, flight; brood. 2. aaaemb•y, company. cards. [1860-o5; < F besigue. bezigue. perh. < It bazzico of the first disciples of Buddha. Aloo, bhlk•ku (bik'®).
                                                                                                                                                                                                                 2.    any

BEW, Board of Economic Warfare.                                    a    similar    ga'me,   derived   variously   from     bazza   trump     [180&-15;      < Skt  bhik1u.   ( >  Pali bhikkhu)J
be-wall (bl wAI' ), o. t. 1. to expreu deep aorrow for; la- card, stroke of luck, or bazzicare to frequent, haunt]                          bhlk•shu•nl (bik 1 sh® ni!), n. Buddhiam. a female
 ment: a littl, child beWQiting the loss of her dog. -o.i. be•zoar (bf!lz0r, -Wr), n. 1. a calculus or concretion bhikshu; nun . Also, bh•k•ku•nl (bik'OO n6). [ < Skt bhi-
 2. to exprau grief. [1260-1300; ME; oee Blh WAIL)                 found      in  the   stomach   or  intestines of  certain    animals,     "1,u(l i ( > Pali bhikhhu(li)]
 -oe-wall'•ns•ly, adv. -be•w•Jllm•nt. n.                           esp. ruminants, formerly reputed to be an effective rem -
-lyn. l. bemoun, mourn .                                           edy     for   poison.    2.  Obs.  a  counterpoieon      or  antidote.  CONCISE PRO NUN~IATI ON KEY: ad, d ~ , 'fa rt, pii rt: te!, l!qual; If. IC'e,'
be-ware (bl wllr'), o.t. 1. to be wary, cautious, or (1470-80;                    earlier bezear < ML bezahor < Ar bii(di)zahr ox, Outr, 6r~tr, oil, booh, boOt, out;_ up, urgt; child,· 11nr, • hot; lhin,
careful of (u.ouolly uoed imperatively): Beware such in-           < Pera piid-zahr counterpoison; -o- < NL]                               tho~; zh aa !" lr-t01urt. o ~ a .as tn 1olon.,t , t aa in •,ra lf'm , i H in
co n• iate ncy. Bewo,.e hi, wa,pi.,h wit. -v.i. 2. to be cau- be•zo•nl•an (bi zO'n6 an), n. Archaic. an indigent ras- Ieasily,                      o a s m gallop, u OIi _m circus.; 01 in (ire ff i'r ), li ou r (o u' r) .
                                                                                                                                             and n can se rve as 11yll ob1c conaonunt.a, 0 11 m cradle (krii.dll) a nd
 tiou• or careful: Bewar, of th, dog. [1150-1200; ME, cal; scoundrel. [158&-95; obs. beson i (o) raw r ecruit ( < It button                         (bul/n). See the full key Inside the fronl cover.                '
 ttom phra-.e of wamin1 ~ ware. See DE, WARE 1 ]                   biaogno need, needy sold ier < ?) + • AN]
